             Case 2:23-ap-01167-SK                  Doc 22 Filed 07/26/23 Entered 07/26/23 15:29:54                                      Desc
                                                     Main Document    Page 1 of 3

    Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
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          Individual appearing without attorney
                       [Proposed] Counsel to Bradley D. Sharp,
         Attorney for: Chapter 11 Trustee
                                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
    In re:

    LESLIE KLEIN,                                                             CASE NO.: 2:23-bk-10990-SK
                                                                              ADVERSARY NO.: 2:23-ap-01167-SK

                                                                              CHAPTER: 11
                                                               Debtor(s).
    BRADLEY D. SHARP, Chapter 11 Trustee,

                                                                                      REQUEST THAT THE CLERK ISSUE
                                                                                         ANOTHER SUMMONS AND
                                                                                      NOTICE OF STATUS CONFERENCE
                                                              Plaintiff(s),
                                    vs.
                                                                                                   [LBR 7004-1(a)(1)(B)]
    KENNETH KLEIN, an individual and SHOSHANA
    SHRIFA KLEIN, an individual,
                                                                                             No hearing required [LBR 9013-1(p)]
                                                          Defendant(s).


PLEASE TAKE NOTICE THAT (name of party) Bradley D. Sharp, Chapter 11 Trustee
requests that the clerk issue another Summons and Notice of Status Conference, for the reason(s) stated below. This
request is made pursuant to LBR 9013-1(p), which allows the court to grant the request without a hearing.


       A. ORIGINAL SUMMONS NOT TIMELY SERVED [FRBP 7004(e)]

             1. A summons was issued and filed by the clerk as docket entry # 2-1                          on (date) June 6, 2023 .

             2. The 7-day period to serve a summons ended on (date)                                    .
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                This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

December 2015                                                            Page 1                 F 7004-1.2.REQUEST.ANOTHER.SUMMONS
DOCS_LA:349922.2 78512/001
         Case 2:23-ap-01167-SK                   Doc 22 Filed 07/26/23 Entered 07/26/23 15:29:54                                      Desc
                                                  Main Document    Page 2 of 3

        3.   The period to serve a summons ended without service of the summons on the following previously named
             parties:


        a. KENNETH KLEIN, an individual

        b. SHOSHANA SHRIFA KLEIN, an individual

        c.

        4. Therefore, another summons (“alias summons”) is needed.


    B. NEW PARTY TO BE ADDED OR JOINED [FRBP 7014, 7019, 7020]

         1. Movant is:         Plaintiff         Third-Party Plaintiff

         2. Name of the party(ies) to be added or joined:

                       a.      KENNETH KOLEV KLEIN, aka KENNETH K. KLEIN, aka KEN KLEIN,

                       b.      SHOSHANA KLEIN, aka SHOSHANA S. KLEIN

                       c.



       3.    The document that identifies the new party(ies) is filed as docket entry # 21                       on (date) July 26, 2023:

                Amended Complaint

                Third-Party Complaint

        4. Therefore, another summons is needed to serve the new party(ies).




     Date: July 26, 2023                       JEFFREY P. NOLAN
                                                Print name of Movant or Attorney for Movant



                                                /s/ Jeffrey P. Nolan
                                                 Signature of Movant or Attorney for Movant




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December 2015                                                         Page 2                 F 7004-1.2.REQUEST.ANOTHER.SUMMONS
DOCS_LA:349922.2 78512/001
         Case 2:23-ap-01167-SK                   Doc 22 Filed 07/26/23 Entered 07/26/23 15:29:54                                      Desc
                                                  Main Document    Page 3 of 3

                                                 PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                             10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: REQUEST THAT THE CLERK ISSUE ANOTHER
SUMMONS AND NOTICE OF STATUS CONFERENCE [LBR 7004-(1)(a)(1)(C)] will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 26, 2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Simon Aron saron@wrslawyers.com, moster@wrslawyers.com
       Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
       Michael I. Gottfried mgottfried@elkinskalt.com,
        cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
       Michael S Kogan mkogan@koganlawfirm.com
       Jeffrey P Nolan jnolan@pszjlaw.com
       Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On July 26, 2023         , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Honorable Sandar R. Klein
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1582 / Courtroom 1575
Los Angeles, CA 90012
                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

July 26, 2023       Rolanda Mori                                                     /s/ Rolanda Mori
 Date                      Printed Name                                                      Signature
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             This form is mandatory. It has been approved for use in the United States Bankruptcy Court, Central District of California.

December 2015                                                         Page 3                 F 7004-1.2.REQUEST.ANOTHER.SUMMONS
DOCS_LA:349922.2 78512/001
